WAYMO LLC,

                                                    3:17-cv-00939-WHA




UBER TECHNOLOGIES, INC.,
OTTOMOTTO LLC; OTTO TRUCKING LLC,




          David J. Bradford
 the Illinois Supreme Court and
 U.S. Court of Appeals, 7th Circuit
                                      Uber Technologies, Inc.
                                                   Debra Grassgreen




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          October 27, 2020                    /s/ David J. Bradford




                                                  David J. Bradford




          October 28, 2020
